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 TRULINCS 13177081 - JOHNSON, KURT F - Unit: MAR-I-A


 FROM: 13177081
 TO: CMU
 SUBJECT: "'Request to Staff*** JOHNSON, KURT, Reg# 13177081, MAR-I-A
 DATE: 10/11/2017 05:25:26 PM

To: East Saint Louis Court
 Inmate Work Assignment: n/a

NOTE: CTU and all ASSOCIATES: The use ofyour criminal mail system by necessity is not acceptance and no claim of iniurv
is hereby waived.                                                                                                              ' 3

KURT JOHNSON 13177-081
COMMUNICATION MANAGEMENT UNIT
P.O. BOX 1000
MARION, IL 62959

UNITED STATES COURT
750 MISSOURI AVE. RM. 104
EAST SAINT LOUIS, IL 62201

In re: Mr. William True
      Mrs. Kathy Hill

Dear Sirs;

    Iam currently held in one ofyour government's secret prisons. The CMU at Marion, II. Criminal mail handlers who censor
all the content ofour mail have been inserted between myself and the Postal Service. Therefore Iam not allowed toreceive
 any mart and can only mail out by legal necessity and privilege. If they do not like the content they confiscate the mail, or lose
 me mail intentionally, never to be sent. For this reason Ihave had my mother Nell Leffel e-file the petition(s) with the fee paid
 but also with the USM 285 form for service. Acopy of the motion for in forma pauperis has been filed herewith and acopy of
me inmate account Iwould like the court to issue an order for the service fees to be taken from my inmate account or to have
them taken as the first order of business from the estate(s). Iwill never receive any mail from this court and it is impossible
under these circumstances to obtain relief from the courts to remedy this illegal activity. Complaints never make it to the court
or out of this unit, See 15-cv-525 NJR (8-2016) from your Benton branch. Therefore if the trustee or court absolutely need to
communicate with me they must setup a legal call at 618-964-1441 with the case manager currently Mr Gary Burqess All
mail should be sentto Kurt Johnson c/o615 S. Palm Ave. Sarasota, FL 34236.
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